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3                               UNITED STATES DISTRICT COURT

4                                      DISTRICT OF NEVADA

5                                                 ***

6     BRIAN CLAY COOK,                                   Case No. 3:19-cv-00081-MMD-CLB

7                                   Petitioner,                     ORDER
             v.
8
      RENEE BAKER, et al.,
9
                                Respondents.
10

11          This is a habeas corpus action under 28 U.S.C. § 2254. Respondents have filed an

12   unopposed motion for enlargement of time (second request). (ECF No. 88.) The Court

13   finds good cause exists to grant Respondents’ motion.

14          It is therefore ordered that Respondents’ unopposed motion for enlargement of time

15   (ECF No. 88) is granted. Respondents will have up to and including November 8, 2021,

16   to file a reply to the opposition to the motion to dismiss.

17          DATED THIS 5th Day of November 2021.

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                                                  MIRANDA M. DU
20                                                CHIEF UNITED STATES DISTRICT JUDGE

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